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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 ALLAN TANNENBAUM,

                               Plaintiff,                     Docket No. 1:19-cv-4750

        - against -                                           JURY TRIAL DEMANDED


 UNIVERSAL MUSIC GROUP, INC.

                                Defendant.


                                            COMPLAINT

       Plaintiff Allan Tannenbaum (“Tannenbaum” or “Plaintiff”) by and through his

undersigned counsel, as and for his Complaint against Defendant Universal Music Group, Inc.

(“Universal Music” or “Defendant”) hereby alleges as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for copyright infringement under Section 501 of the Copyright

Act. This action arises out of Defendant’s unauthorized reproduction and public display of a

copyrighted photograph of singer and songwriter John Lennon and his wife Yoko Ono, owned

and registered by Tannenbaum, a New York based professional photographer. Accordingly,

Tannenbaum seeks monetary relief under the Copyright Act of the United States, as amended, 17

U.S.C. § 101 et seq.

                                JURISDICTION AND VENUE

       2.      This claim arises under the Copyright Act, 17 U.S.C. § 101 et seq., and this Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).
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       3.      Upon information and belief, this Court has personal jurisdiction over Defendant

because Defendant resides and/or transacts business in New York and is registered with the New

York Department of State Division of Corporations.

       4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).

                                             PARTIES

       5.      Tannenbaum is a professional photographer in the business of licensing his

photographs to online and print media for a fee having a usual place of business at 182 Duane

Street, New York, New York 10013.

       6.      Upon information and belief, Universal Music is a foreign business corporation

organized and existing under the laws of the State of Delaware, with a place of business at 1755

Broadway, New York, New York 10019. Upon information and belief, Universal Music is

registered with the New York State Department of Corporations to do business in New York. At

all times material hereto, Universal Music has owned and operated a website at the URL:

www.UDiscoverMusic.com (the “Website”).

                                    STATEMENT OF FACTS

       A.      Background and Plaintiff’s Ownership of the Photograph

       7.      Tannenbaum photographed singer and songwriter John Lennon and his wife Yoko

Ono (the “Photograph”). A true and correct copy of the Photograph is attached hereto as Exhibit

A.

       8.      Tannenbaum is the author of the Photograph and has at all times been the sole

owner of all right, title and interest in and to the Photograph, including the copyright thereto.

       9.      The Photograph was registered with United States Copyright Office and was

given Copyright Registration Number VA 123-969.
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        B.       Defendant’s Infringing Activities

        10.      Universal Music ran an article on the Website entitled John Lennon- Milk and

Honey. See: https://www.udiscovermusic.com/behind-the-albums/john-lennon-milk-and-honey/.

A screenshot of the Photograph on the Website is attached hereto as Exhibit B.

        11.      Universal Music did not license the Photograph from Plaintiff for its Website, nor

did Universal Music have Plaintiff’s permission or consent to publish the Photograph on its

Website.

        12.      Tannenbaum first discovered the Photograph on Defendant’s website in May

2019.

                                 CLAIM FOR RELIEF
                      (COPYRIGHT INFRINGEMENT AGAINST DEFENDANT)
                                 (17 U.S.C. §§ 106, 501)

        13.      Plaintiff incorporates by reference each and every allegation contained in

Paragraphs 1-12 above.

        14.      Universal Music infringed Plaintiff’s copyright in the Photograph by reproducing

and publicly displaying the Photograph on the Website. Universal Music is not, and has never

been, licensed or otherwise authorized to reproduce, publically display, distribute and/or use the

Photograph.

        15.      The acts of Defendant complained of herein constitute infringement of Plaintiff’s

copyright and exclusive rights under copyright in violation of Sections 106 and 501 of the

Copyright Act, 17 U.S.C. §§ 106 and 501.

        16.      Upon information and belief, the foregoing acts of infringement by Universal

Music have been willful, intentional, and purposeful, in disregard of and indifference to

Plaintiff’s rights.
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       17.      As a direct and proximate cause of the infringement by the Defendant of

Plaintiff’s copyright and exclusive rights under copyright, Plaintiff is entitled to damages and

Defendant’s profits pursuant to 17 U.S.C. § 504(b) for the infringement.

       18.      Alternatively, Plaintiff is entitled to statutory damages up to $150,000 per work

infringed for Defendant’s willful infringement of the Photograph, pursuant to 17 U.S.C. § 504(c).

       19.      Plaintiff further is entitled to his attorney’s fees and full costs pursuant to

17 U.S.C. § 505

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests judgment as follows:

       1.       That Defendant Universal Music be adjudged to have infringed upon Plaintiff’s

                copyrights in the Photograph in violation of 17 U.S.C §§ 106 and 501;

       2.       That Plaintiff be awarded either: a) Plaintiff’s actual damages and Defendant’s

                profits, gains or advantages of any kind attributable to Defendant’s infringement

                of Plaintiff’s Photograph; or b) alternatively, statutory damages of up to $150,000

                per copyrighted work infringed pursuant to 17 U.S.C. § 504;

       3.       That Defendant be required to account for all profits, income, receipts, or other

                benefits derived by Defendant as a result of its unlawful conduct;

       4.       That Plaintiff be awarded his costs, expenses and attorneys’ fees pursuant to 17

                U.S.C. § 505;

       5.       That Plaintiff be awarded pre-judgment interest; and

       6.       Such other and further relief as the Court may deem just and proper.

                                  DEMAND FOR JURY TRIAL
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       Plaintiff hereby demands a trial by jury on all issues so triable in accordance with Federal

Rule of Civil Procedure 38(b).

Dated: Valley Stream, New York
       May 22, 2019
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